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Attorney for Intervenor-Defendant
Oregon Alliance for Gun Safety


                        IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF OREGON

                                    PENDLETON DIVISION

OREGON FIREARMS FEDERATION,                Case No. 2:22-cv-01815-IM (Lead Case)
INC., et al.,                              Case No. 3:22-cv-01859-IM (Trailing Case)
                                           Case No. 3:22-cv-01862-IM (Trailing Case)
                      Plaintiffs,          Case No. 3:22-cv-01869-IM (Trailing Case)
         v.
TINA KOTEK, et al.,
                                                  CONSOLIDATED CASES
                      Defendants,

        and
                                            INTERVENOR-DEFENDANT OREGON
OREGON ALLIANCE FOR GUN                     ALLIANCE FOR GUN SAFETY’S
SAFETY,                                     FACT WITNESS STATEMENT
                  Intervenor-Defendant.
MARK FITZ, et al.,
                      Plaintiffs,
        v.
ELLEN F. ROSENBLUM, et al.,
                      Defendants.
KATERINA B. EYRE, et al.,
                      Plaintiffs,
        v.
ELLEN F. ROSENBLUM, et al.,
                      Defendants,



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                 and

 OREGON ALLIANCE FOR GUN
 SAFETY,

                   Intervenor-Defendant.
 DANIEL AZZOPARDI, et al.,
                        Plaintiffs,
         v.
 ELLEN F. ROSENBLUM, et al.,

                        Defendants.



                                       INTRODUCTION

        Intervenor Defendant Oregon Alliance for Gun Safety (the “Alliance”) expects to present

the following witness. The Alliance expects to eliminate redundant testimony based upon the order

of witness testimony. The Alliance reserves the right to revise, modify, and supplement this list

and narratives as developments before and during trial warrant, including based on the outcome of

pretrial and trial motion practice.

                                      WITNESS STATEMENT

I.    Jenna Longenecker (1 hour direct testimony)

     A. Ms. Longenecker’s background

        Ms. Longenecker will testify that she grew up in Portland, Oregon; attended Franklin High

School; and considers the state of Oregon to be her home. She will testify about how she moved

to Eugene from Portland to attend the University of Oregon. Ms. Longenecker will testify that in

2012, the year after she graduated from college, her mother was killed in the Clackamas Town

Center mass shooting. She will also testify that her father committed suicide with a firearm in

September 2016. After her mother’s death, Ms. Longenecker wanted to do everything she could



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to prevent anyone else from losing a loved one to gun violence. She spent three years working

independently to support common sense firearm safety laws in Oregon. Ms. Longenecker will

testify that in April 2016, she began working for Giffords, the national nonprofit organization

dedicated to saving lives from gun violence, as an engagement manager. After the loss of her

father, she continued to work at Giffords for another year and half before leaving for a job as a

management consultant. She is now married, has one child, and is pregnant with her second. She

and her family live in New Hampshire.

   B. Ms. Longenecker’s loss of her mother

       Ms. Longenecker will testify that her mother, Cindy Yuille, was a hospice nurse. On

December 11, 2012, Ms. Yuille was Christmas shopping at Clackamas Town Center in Happy

Valley, Oregon. A masked gunman entered the mall armed with a semi-automatic rifle and

multiple 30-round magazines and began shooting. The gunman killed Ms. Longenecker’s mother

and another individual and injured a teenage girl. After 22 minutes of shooting, law enforcement

closed in on the shooter while he was reloading his rifle, which he then turned on himself.

       Ms. Longenecker will testify that losing her mother to gun violence has impacted her life

in countless ways that have evolved over the years. Some are readily apparent: her mother never

met Ms. Longenecker’s husband or daughter, both of whom she would have adored.

Ms. Longenecker was diagnosed with depression after her mother’s death, which she believes was

the primary factor in her depression. Other impacts are less obvious: her mom’s favorite recipes

are lost, and Ms. Longenecker will never be able to make them for her own children. On the day

of the shooting, Jenna kept trying to call her mother to see if she was okay, but her mother never

answered. Jenna will testify that for many years, she struggled with intense anxiety whenever she

was unable to reach a loved one immediatedly.




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       Ms. Longenecker will testify that her grief is accentuated by both the violence and the

preventability of her mother’s death. It was unlike losing a loved one to a car accident or tragic

illness. Her mother didn’t assume any risk. Her death was not due to something outside of human

control. Ms. Longenecker will testify that the sense that we live in a country that is unsafe—where

a mass shooting could occur at any time or place—has never left her.

       She will also testify on the impact that her mother’s death has had on her as a parent. She

thinks carefully about the decision to someday send her daughter to school, where her daughter is

more at risk of a mass shooting than if she were homeschooled. Whenever Ms. Longenecker is in

a crowded public place with her family—a movie theater, a mall, a concert—she thinks about what

would happen if there were an active shooter. She will testify that she struggles to avoid being

overprotective of her daughter when this hypervigilance can feel ingrained. Ms. Longenecker will

testify that she knows the odds of her or her family being killed in a shooting are low. But she also

knows, in her bones, that it could happen again. It did happen.

       Ms. Longenecker will also testify on the impact of her mother’s death on her step-brother,

Hunter Yuille, who was 12 years old at the time. Hunter had been close with Ms. Yuille and was

deeply affected by her murder. Shortly thereafter, Ms. Longenecker will testify, Hunter began to

struggle in school, eventually dropping out of high school, struggling with substance abuse, and

becoming estranged from his father Robert Yuille, Ms. Yuille’s widower. Ms. Longenecker

believes that her mother’s murder was a significant factor in Hunter’s downward spiral.

   C. Ms. Longenecker’s loss of her father

       Ms. Longenecker will testify that on September 15, 2016, a little less than four years after

her mother’s death, her father, Michael Passalacqua, committed suicide with a firearm. She will

testify that her father had struggled with periodic depression for years, but he entered a darkest,




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deepest bout after her mother’s death. She will testify that she had a strained relationship with her

father—in hindsight, this was due in large part to his struggles with mental illness. Her father’s

family and friends were aware of his mental health struggles and suicidal ideation, but had little

recourse or knowledge of how to help him. Had there then been a reporting mechanism in place to

alert authorities that her father may be a danger to himself, or a requirement to receive training

about gun safety prior to purchasing a firearm, Ms. Longenecker wonders if her father could have

been prevented from getting the gun he used to shoot himself.

   Ms. Longenecker will testify that, while she loved growing up in Oregon and considers it to

be her home, it is more complicated now. Oregon is also where both her parents lost their lives to

gun violence. She doesn’t know if she could live here again.

   D. The gun violence survivor community

       Ms. Longenecker will testify that through her work to support firearm safety regulations,

she met many victims and survivors of gun violence from all over the country. As devastating as

her story is, she considers herself comparatively lucky. Unlike others, she hasn’t been under fire

herself. She hasn’t lost a child. Many survivors she knows can’t be in public places without

suffering extreme anxiety. She will testify that she learned that many people who have been

affected by gun violence are too traumatized to speak out publicly in support of reasonable gun

control measures. That is part of why she feels a need to testify in this case: to speak on behalf of

victims and survivors.




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     DATED this 15th day of May, 2023.

                                         PACIFICA LAW GROUP LLP

                                         s/ Zachary J. Pekelis
                                         Jessica A. Skelton, OSB #102714
                                         Zachary J. Pekelis, Pro Hac Vice
                                         Kai A. Smith, Pro Hac Vice
                                         W. Scott Ferron, Pro Hac Vice

                                         Attorneys for Intervenor-Defendant
                                         Oregon Alliance for Gun Safety




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                                CERTIFICATE OF SERVICE

       I hereby certify that on this 15th day of May, 2023, I electronically filed the foregoing

document with the Clerk of the United States District Court using the CM/ECF system which will

send notification of such filing to all parties who are registered with the CM/ECF system.


       DATED this 15th day of May, 2023.




                                                        Erica Knerr




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